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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
STATE OF NEBRASKA, et al.,                         )
                                                   )
         Plaintiffs,                               )
                                                   )
    v.                                             )       No. 4:22CV1040 HEA
                                                   )
JOSEPH R. BIDEN, JR., et al.,                      )
                                                   )
         Defendants.                               )
                                                   )
                                              ORDER

         IT IS HEREBY ORDERED that consistent with conference discussions, Plaintiff's Motion

for Temporary Restraining Order [Doc # 4] is set for hearing on October 4, 2022, at 10:00 a.m. in

the courtroom of the undersigned. Respondents are to file reply to the Motion for Temporary

Restraining Order by 4:00 p.m. Monday, October 3, 2022

         Dated this 30th day of September, 2022.


                                                       __________________________________
                                                          HENRY EDWARD AUTREY
                                                       UNITED STATES DISTRICT JUDGE
